                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF OHIO

MATTHEW DICKSON, on behalf of                 :     Case No. 5:18-cv-182-JRA
himself and others similarly situated,        :
                                              :     Judge Adams
       Plaintiff,                             :
                                              :
v.                                            :
                                              :
DIRECT ENERGY, LP, et al.,                    :
                                              :
       Defendants.                            :

                                    NOTICE OF APPEAL

       Plaintiff Matthew Dickson hereby appeals to the United States Court of Appeals for the

Sixth Circuit from the Memorandum of Opinion and Order (Doc. 148) and Judgment Entry (Doc.

149) entered in this action on the 25th day of March, 2022.


Dated: April 22, 2022                        Respectfully submitted,

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                                CERTIFICATE OF SERVICE
       I hereby certify that on April 22, 2022, I served the foregoing through the Court’s
CM/ECF system, which will send notice to all counsel of record.


                                             /s/ Brian K. Murphy
                                             Brian K. Murphy




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